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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 8:23-CV-02478-FMO-ADS

PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, ifany) David Radel ,Los Angeles District Director, USCIS

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date)

©} I left the summons at the individual’s residence or usual place of abode with (name)

> Or

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

M I served the summons on (name of individual) Office of the Chief Counsel

, who is

designated by law to accept service of process on behalf of (name of organization) USCIS

on (date) 03/21/2024

1 I returned the summons unexecuted because

; Or

; Or

O Other (specify):

My fees are $ 0 for travel and $ 78.84 for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: 03/21/2024 A

78.84 0

7
Server’s signature

Artem Latushkin

Printed name and title

134 Denali
Lake Forest CA
92630

Server’s address

Additional information regarding attempted service, etc:

According USCIS Service of Process Notice the Summons in a Civil Action was send via USPS to the address:

USCIS

Office of the Chief Counsel 5900 Capital Gateway Drive Mail Stop 2120 Camp Springs, MD 20588-0009 .
Also was send a duplicate to the email uscis.serviceofprocess@uscis.dhs.gov and LosAngelesAsylum@uscis.dhs.gov

and received confirmation of this.

a ccc

ca
